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                            UNITED STATES COURT OF APPEALS
                               FOR THE ELEVENTH CIRCUIT
                               ELBERT PARR TUTTLE COURT OF APPEALS BUILDING
                                             56 Forsyth Street, N.W.
                                             Atlanta, Georgia 30303

David J. Smith                                                                     For rules and forms visit
Clerk of Court                                                                     www.ca11.uscourts.gov


                                         September 23, 2022

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Appeal Number: 22-13174-F
Case Style: USA v. Mitzi Bickers
District Court Docket No: 1:18-cr-00098-SCJ-LTW-1

Please use the appeal number for all filings in this court.

Electronic Filing
All counsel must file documents electronically using the Electronic Case Files ("ECF") system,
unless exempted for good cause. Although not required, non-incarcerated pro se parties are
permitted to use the ECF system by registering for an account at www.pacer.gov. Information
and training materials related to electronic filing are available on the Court's website.

Certificate of Interested Persons and Corporate Disclosure Statement ("CIP")
Every motion, petition, brief, answer, response, and reply must contain a CIP. See FRAP 26.1;
11th Cir. R. 26.1-1. In addition:

      •    Appellants/Petitioners must file a CIP within 14 days after this letter's date.
      •    Appellees/Respondents/Intervenors/Other Parties must file a CIP within 28 days after
           this letter's date, regardless of whether Appellants/Petitioners have filed a CIP.
      •    Only parties represented by counsel must complete the web-based CIP. Counsel must
           complete the web-based CIP, through the Web-Based CIP link on the Court's website,
           on the same day the CIP is first filed.
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The failure to comply with 11th Cir. Rules 26.1-1 through 26.1-4 may result in dismissal of the
case or appeal under 11th Cir. R. 42-1(b), no action taken on deficient documents, or other
sanctions on counsel, the party, or both. See 11th Cir. R. 26.1-5(c).

Attorney Admissions
Attorneys who wish to participate in this appeal must be properly admitted either to the bar of
this court or for this particular proceeding, See 11th Cir. R. 46-1; 46-3; 46-4. In addition, all
attorneys (except court-appointed attorneys) who wish to participate in this appeal must file an
appearance form within fourteen (14) days after this letter's date. The Application for
Admission to the Bar and Appearance of Counsel Form are available on the Court's website.
The clerk generally may not process filings from an attorney until that attorney files an
appearance form. See 11th Cir. R. 46-6(b).

Defaults
Pursuant to 11th Cir. R. 42-1(b), this appeal will be dismissed after 14 days and without
further notice unless the following default(s) have been corrected:

Transcript Information Form
Pursuant to FRAP 10(b), the appellant must, within 14 days, file a Transcript Information Form,
which is available on the Court's website. See FRAP 10(b)(1); 11th Cir. R. 10-1. See 11th Cir.
R. 12-1 and 31-1.

Criminal Appeals - Sentencing Issue
In any criminal appeal raising a sentencing issue, the appellant must ensure that the record
includes (a) the transcript of the sentencing proceeding, and (b) the presentence investigation
report and addenda (under seal in a separate envelope). See 11th Cir. R. 30-1(a)(14).

Criminal Appeals - Validity of a Guilty Plea
In any criminal appeal raising the validity of a guilty plea, the appellant must ensure that the
record includes the transcript of the guilty plea colloquy and any written plea agreement. See
11th Cir. R. 30-1(a)(13).

Obligation to Notify Court of Change of Addresses
Each pro se party and attorney has a continuing obligation to notify this court of any changes to
the party's or attorney's addresses during the pendency of the case in which the party or attorney
is participating. See 11th Cir. R. 25-7.

Sincerely,

DAVID J. SMITH, Clerk of Court

Reply to: Dionne S. Young/mt, F
Phone #: (404) 335-6224

                                                                DKT-2 Appeal WITH Deficiency
